     Case 4:19-cv-07123-PJH        Document 432   Filed 10/17/24    Page 1 of 6




 1   JOSEPH N. AKROTIRIANAKIS (Bar No. 197971)
      jakro@kslaw.com
 2   AARON S. CRAIG (Bar No. 204741)
      acraig@kslaw.com
 3   KING & SPALDING LLP
     633 West Fifth Street, Suite 1700
 4   Los Angeles, CA 90071
     Telephone:    (213) 443-4355
 5   Facsimile:    (213) 443-4310

 6   Attorneys for Defendants NSO GROUP TECHNOLOGIES
     LIMITED and Q CYBER TECHNOLOGIES LIMITED
 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
                                       OAKLAND DIVISION
10

11   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
12   corporation,                                 STATEMENT PURSUANT TO LOCAL
                                                  RULE 79-5(F)(3) OF DEFENDANTS NSO
13                Plaintiffs,                     GROUP TECHNOLOGIES LIMITED
                                                  AND Q CYBER TECHNOLOGIES
14         v.                                     LIMITED IN RESPONSE TO
                                                  PLAINTIFFS’ ADMINISTRATIVE
15   NSO GROUP TECHNOLOGIES LIMITED               MOTION TO CONSIDER WHETHER
     and Q CYBER TECHNOLOGIES LIMITED,            ANOTHER PARTY’S MATERIAL
16                                                SHOULD BE FILED UNDER SEAL [RE
                  Defendants.                     DOCKET NOS. 418, 418-3, 418-4, 418-5,
17                                                418-6, 418-7 & 418-8]
18                                                Judge: Hon. Phyllis J. Hamilton
19                                                Action Filed: 10/29/2019
20

21

22

23

24

25

26

27

28

      DEFENDANTS’ LOCAL RULE 79-5(F)(3)                                Case No. 4:19-cv-07123-PJH
      STATEMENT
     Case 4:19-cv-07123-PJH         Document 432        Filed 10/17/24     Page 2 of 6




 1
             Pursuant to Civil Local Rule 79-5(f)(3), Defendants NSO Group Technologies Limited and
 2
     Q Cyber Technologies Limited (collectively, the “Defendants”) submit this statement in response
 3
     to Plaintiffs’ Administrative Motion to Consider Whether Another Party’s Material Should Be
 4
     Filed Under Seal (“Administrative Motion”) (Dkt. 418). Plaintiffs’ identify portions of their
 5
     Opposition to Defendants’ Motion for Summary Judgment or Partial Summary Judgment (Dkt.
 6
     418-3) (“Plaintiffs’ Opposition”), portions of the Declaration of Micah G. Block (Dkt. 418-4) (the
 7
     “Block Declaration”), Exhibits 5-12, 16-17, 19-28, 30-39, and 43 to the Block Declaration (Dkt.
 8
     418-5), portions of the Declaration of David Youssef (the “Youssef Declaration”) (Dkt. No. 418-
 9
     8), Exhibits B and C to the Youssef Declaration (Dkt. No. 418-8), Exhibits B and C to the
10
     Declaration of Dana Trexler (the “Trexler Declaration”) (Dkt. No. 418-6), and Exhibit B to the
11
     Declaration of Anthony Vance (the “Vance Declaration”) (Dkt. No. 418-7) (collectively, the
12
     “Sealed Materials”) as containing materials designated confidential by Defendants.
13
        I.      SUMMARY OF DEFENDANTS’ POSITIONS ON THE SEALED MATERIALS
14
             As an initial matter, Defendants do not contend that the following information is required
15
     to be treated as “Confidential,” “Highly Confidential-Attorney’s Eyes Only,” or sealed: Plaintiffs
16
     Opposition: page/line(s) 1:24, 2:19-20, 4:18-19, 5:9-10 and :28, 10:9, 11:5 and :26, 12:20, 13:16-
17
     17, 15:28, 16:1, 21-23, 18:7-8, and 19:7-9; the entirety of the Block declaration (Dkt. 418-4);
18
     the following portions of exhibits to the Block declaration (Dkt. No. 418-5): Exhibit 6 pages
19
     1-6 and 25-27, Exhibit 19, Exhibit 20, Exhibit 21, Exhibit 37, Exhibit 43 pages 1-3 and 38-40; the
20
     following paragraphs of the Youssef Declaration (Dkt. No. 418-8): paragraphs 1-7 and 15; the
21
     following paragraphs of Exhibit B to the Youssef Declaration (Dkt. No. 418-8): 32-39; 96-97;
22
     135; 145-147; the following portions of Exhibit B to the Declaration of Dana Trexler (Dkt.
23
     418-6): paragraphs 1-11, 13, 47-88 and Table 3; and the following portions of Exhibit C to the
24
     Declaration of Data Trexler (Dkt. 418-6): paragraphs 1-5 and 49-50 (the “Unsealable Material”).
25
             For reasons below, however, all remaining portions of the Sealed Materials—including all
26
     remaining highlighted portions of Plaintiffs’ Opposition (Dkt. 418-3), Exhibits 5-12, 16-17, 22-
27
     28, 30-39, and 43 to the Block Declaration (with the exception of Exhibit 6 pages 1-6 and 25-27
28
     and Exhibit 43 pages 1-3 and 38-40) (Dkt. 418-5), paragraphs 8-14 of the Youssef Declaration
     DEFENDANTS’ LOCAL RULE 79-5(F)(3)                  1                     Case No. 4:19-cv-07123-PJH
     STATEMENT
     Case 4:19-cv-07123-PJH          Document 432         Filed 10/17/24   Page 3 of 6




 1   (Dkt. 418-8), Exhibit B to the Youssef Declaration (with the exception of paragraphs 32-39; 96-

 2   97; 135; 145-147) and Exhibit C to the Youssef Declaration (Dkt. 418-8), Exhibit B to the Trexler

 3 Declaration (with the exception of paragraphs 1-11, 13, 47-88 and Table 3) (Dkt. 418-6); Exhibit

 4 C to the Trexler Declaration (with the exception of paragraphs 1-5 and 49-50) (Dkt. 418-6), and

 5 Exhibit B to the Vance Declaration (Dkt. 418-7)—should remain under seal.

 6      II.      ARGUMENT

 7            A. Legal Standard

 8            Although courts recognize a general right to inspect and copy public records, “access to

 9 judicial records is not absolute.” Kamakana v. City & Cnty. of Honolulu, 447 F.3d 1172, 1178

10 (9th Cir. 2006). A party seeking to seal materials submitted with a motion for summary judgment

11 must demonstrate that there are compelling reasons to keep the documents under seal. See Ctr. for

12 Auto Safety v. Chrysler Grp., LLC, 809 F.3d 1092, 1101–02 (9th Cir. 2016). It is in the “sound

13 discretion of the trial court” to determine what constitutes a “compelling reason.” In re Da Vinci

14 Surgical Robot Antitrust Litig., 2024 WL 1687645, at *1 (N.D. Cal. Apr. 17, 2024).

15            As an initial matter, courts have found compelling reasons to seal sensitive non-public

16 information implicating confidentiality interests of government bodies. See Hyundai Motor Am.,

17 Inc. v. Midwest Indus. Supply Co., 2019 WL 11638962, at *2 (D. Nev. June 20, 2019). For

18 additional background, argument, and authorities relevant to this topic, the Court is respectfully
19 referred to ¶¶ 2, 4-12, & 13(a)-(e) of Dkt. 419-1. As specified below, the events, arguments, and

20 authorities discussed therein support Defendants’ request to seal certain of the Sealed Materials.

21            In addition, “[c]ompelling reasons justifying sealing court records generally exist” when

22 such files contain “trade secrets [] or … business information that might harm a litigant’s

23 competitive standing.” Hyundai Motor, 2019 WL 11638962, at *1; see also Grace v. Apple, Inc.,

24 2019 WL 12288173, at *3 (N.D. Cal. Aug. 22, 2019) (“Competitive harm and security concerns

25 can qualify as compelling reasons.”). Courts have thus found that compelling reasons exist to seal

26 “proprietary information concerning [a party’s] technology and internal business operations” and

27 “descriptions of [a party’s] proprietary technology.” Transperfect Global, Inc. v. MotionPoint

28 Corp., 2013 WL 706975, at *1 (N.D. Cal. Feb. 26, 2013); see also Finjan, Inc. v. Proofpoint, Inc.,
       DEFENDANTS’ MOTION TO STAY                     2                       Case No. 4:19-cv-07123-PJH
       DISCOVER
     Case 4:19-cv-07123-PJH          Document 432          Filed 10/17/24    Page 4 of 6




 1   2016 WL 7429304, at *2 (N.D. Cal. Feb. 9, 2016) (recognizing “compelling reasons to seal . . .

 2   source code directories, information about the technical operation of the products, financial

 3   revenue data, and excerpts from expert depositions [and] expert report[s]”); Icon-IP Pty Ltd. v.

 4   Specialized Bicycle Components, Inc., 2015 WL 984121, at *2 (N.D. Cal. Mar. 4, 2015) (“pricing,

 5 profit, and customer usage information, when kept confidential by a company, is appropriately

 6 sealable under the ‘compelling reasons’ standard where that information could be used to the

 7 company’s competitive disadvantage”). Courts have also found compelling reasons to seal

 8 “customers’ personal information, which includes the customers’ names, account numbers, IP
 9 addresses, email addresses, and/or customer activities on certain platforms, in order to protect the

10 customers’ privacy.” Activision Publ’g, Inc. v. Engine Owning UG, 2023 WL 2347134, at *1

11 (C.D. Cal. Feb. 27, 2023).

12          B. Documents and Information Requiring Sealing

13          The above-referenced considerations strongly support sealing of:

14          The indicated portions of Plaintiffs’ Opposition (Dkt. 418-3). With the exception of the

15 portions of Plaintiffs’ Opposition set forth in the Unsealable Material, supra, nearly all of the

16 highlighted portions of Plaintiffs’ Opposition refer to information that is subject to legal

17 restrictions and confidentiality obligations discussed in detail at ¶¶ 2, 4-12, & 13(a)-(e) of Dkt. No.

18 419-1 that, alone, supply compelling reasons to seal those portions of Plaintiffs’ Opposition. These
19 portions of Plaintiffs’ Opposition also discuss highly confidential information about the research,

20 development, and functioning of Defendants’ technologies, other confidential and competitively

21 sensitive information of Defendants, and confidential customer/business partner information, all

22 of which warrants sealing to prevent substantial harm to Defendants’ business and to Defendants’

23 government customers and business partners. See, e.g., Finjan, 2016 WL 7429304, at *2;

24 Transperfect , 2013 WL 706975, at *1; Activision, 2023 WL 2347134, at *1; Hyundai Motor, 2019

25 WL 11638962, at *1.

26          Sealed Materials attached as exhibits to the Block Declaration (Dkt. 418-5). Block

27 Declaration Exhibits 5-12, 16-17, 22-28, 30-39, and 43 to the Block Declaration (with the

28 exception of Exhibit 6 pages 1-6 and 25-27 and Exhibit 43 pages 1-3 and 38-40) refer to
       DEFENDANTS’ MOTION TO STAY                      3                        Case No. 4:19-cv-07123-PJH
       DISCOVER
     Case 4:19-cv-07123-PJH          Document 432          Filed 10/17/24     Page 5 of 6




 1   information that is subject to legal restrictions and confidentiality obligations discussed in detail

 2   at ¶¶ 2, 4-12, & 13(a)-(e) of Dkt. No. 419-1 and also reference highly confidential technical

 3   information regarding the functioning of Defendants’ technology.           Accordingly, compelling

 4   reasons support sealing those portions. See Dkt. No. 419-1, ¶¶ 11-12 & 13(a)-(e); see also, e.g.,

 5   Finjan, 2016 WL 7429304, at *2; Transperfect, 2013 WL 706975, at *1. In addition, Block

 6   Declaration Exhibits 23-25, 35, and 39 reference confidential financial information and sensitive

 7   confidential business information the public disclosure of which could harm Defendants’

 8   competitive standing, further warranting sealing. See Hyundai Motor, 2019 WL 11638962, at *1;

 9   Grace, 2019 WL 12288173, at *3; Synchronoss Techs., Inc. v. Dropbox Inc., 2019 WL 3718566,

10   at *1 (N.D. Cal. Aug. 7, 2019); Icon-IP, 2015 WL 984121, at *2. Finally, the highlighted portions

11   of Block Declaration Exhibits 19-21 contain references to confidential and private identifying

12   information and financial information of non-parties. There is little, if any, public interest in this

13   identifying/financial information, and privacy interests of these non-parties justifies sealing. See

14   Nursing Home Pension Fund v. Oracle Corp., 2007 WL 3232267, at *1 (N.D. Cal. Nov. 1, 2007)

15   (“The Ninth Circuit has found that compelling reasons exist to keep personal information

16   confidential to protect an individual’s privacy interest and to prevent exposure to harm or identity

17   theft.” (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1134 (9th Cir. 2003)). For

18   all of these reasons, compelling reasons support sealing Block Declaration Exhibits 5-12, 16-17,

19 19-28, 30-39, and 43.

20          The Youssef Declaration and Exhibits B and C thereto (Dkt. 418-8). Paragraphs 8-14 of

21 the Youssef Declaration and Exhibits B (with the exception of paragraphs 32-39, 96-97, 135 and

22 145-147) and C thereto are replete with references information that is subject to legal restrictions

23 and confidentiality obligations discussed in detail at ¶¶ 2, 4-12, & 13(a)-(e) of Dkt. No. 419-1 and

24 also reference highly confidential technical information regarding the functioning of Defendants’

25 technology. Accordingly, compelling reasons support sealing those portions. See Dkt. No. 419-

26 1, ¶¶ 11-12 & 13(a)-(e); see also, e.g., Finjan, 2016 WL 7429304, at *2; Transperfect, 2013 WL

27 706975, at *1. At the very minimum, these compelling reasons support sealing paragraphs 8-14

28 of the Youssef Declaration, paragraphs 28-31, 43-144, and 148-161 of Youssef Declaration
       DEFENDANTS’ MOTION TO STAY                      4                         Case No. 4:19-cv-07123-PJH
       DISCOVER
     Case 4:19-cv-07123-PJH         Document 432         Filed 10/17/24    Page 6 of 6




 1   Exhibit B, and the entirety of Youssef Declaration Exhibit C.

 2          Exhibits B and C to the Trexler Declaration (Dkt. 418-6). Trexler Declaration Exhibits

 3   B (with the exception of paragraphs 1-11, 13, 47-88 and Table 3) and C (with the exception of

 4   paragraphs 1-5 and 49-50) contain extensive references to confidential financial information and

 5   sensitive confidential business information the public disclosure of which could harm Defendants’

 6   competitive standing, providing compelling reasons to seal these materials. See Hyundai Motor,

 7   2019 WL 11638962, at *1; Grace, 2019 WL 12288173, at *3; Synchronoss, 2019 WL 3718566,

 8   at *1; Icon-IP, 2015 WL 984121, at *2.

 9          Exhibit B to the Vance Declaration (Dkt. 418-7). Vance Declaration Exhibit B contains

10   extensive references to information that is subject to legal restrictions and confidentiality

11   obligations discussed in detail at ¶¶ 2, 4-12, & 13(a)-(e) of Dkt. No. 419-1 and also reference

12   highly confidential technical information regarding the functioning of Defendants’ technology.

13   Accordingly, compelling reasons support sealing those portions. See Dkt. No. 419-1, ¶¶ 11-12 &

14   13(a)-(e); see also, e.g., Finjan, 2016 WL 7429304, at *2; Transperfect, 2013 WL 706975, at *1.

15                                                *****

16          As shown above and in Dkt. 419-1, ¶¶ 2, 4-12, & 13(a)-(e), compelling reasons exist to

17   seal the Sealed Materials as described above and as specified in the [Proposed] Order filed

18   herewith. Defendants have analyzed each of the documents being filed, and for each, Defendants

19   are asking the Court to file under seal only the minimum necessary to meet their legal obligations

20   and to preserve their confidential information. Accordingly, Defendants ask that the Court grant

21   Dkt. 418 and enter the [Proposed] Order filed herewith.

22
     DATED: October 17, 2024                          KING & SPALDING LLP
23
                                                      By: /s/Aaron S. Craig
24
                                                          JOSEPH N. AKROTIRIANAKIS
25                                                        AARON S. CRAIG

26                                                         Attorneys for Defendants NSO GROUP
                                                           TECHNOLOGIES LIMITED and Q
27                                                         CYBER TECHNOLOGIES LIMITED
28
       DEFENDANTS’ MOTION TO STAY                    5                        Case No. 4:19-cv-07123-PJH
       DISCOVER
